Case 4:06-cr-00279-RAJ Document 25 Filed 07/15/11 Page 1 of 1

&PROB 35 Report and Order Terminating Probation/Supervised Release
(Rev. 5/01) Prior to Original Expiration Date

UNITED STATES DISTRICT COURT

=“ FILED

WESTERN DISTRICT OF TEXAS .
JUL 15 2011
UNITED STATES OF AMERICA KEERK US: DISTRICT COURT
v. . Crim. No. »-06-CR-219000
Miguel Loya
On May 22, 2007 the above named was placed on probation for a period of _five years. The

probationer has complied with the rules and regulations of probation and is no longer in need of supervision. It is

accordingly recommended that the probationer be discharged from supervision.

Respectfully submitted,

US. Probation Officer

ORDER OF COURT
Pursuant to the above report, it is ordered that the probationer be discharged from supervision and that the

proceedings in the case be terminated.

Dated this L 3 74 day of yet , 20 [ /

The Honorable Robert Jun¥ . {
United States District Jud

